Case 7:20-cv-06807-VB Document 35_ Filed 01/12/21 Page 1of1
Tl [-[L-20
Copies d/Faxed
Chambers Of Vincent L. Briccetti

UNITED STATES DISTRICT COURT we
SOUTHERN DISTRICT OF NEW YORK
ae x
MICHAEL J. MONROE,
Plaintiff,

 

ORDER
Vv,
: 20 CV 6807 (VB) °c
HSA NURSE ADMINISTRATOR JOULIANA, — : 7
COUNTY OF ROCKLAND, LIEUTENANT
JOHN BYRON, CAPTAIN J.C. JISKA;
Defendants.

ne ; eee a

Plaintiff, proceeding pro se and in forma pauperis, has submitted a “Notice to Amend

 
 

 

Complaint,” dated December 29, 2020. (Doc. #34). In his “Notice to Amend,” plaintiff requests
the Court permit him to amend his original complaint to add claims for “retaliation, mental
anguish, and backlash from staff.” (d.).

By January 19, 2021, defendants shall submit a letter response to plaintiffs “Notice to
Amend Complaint.”

Dated: January 12, 2021
White Plains, NY

SO ORDERED:

Viel

Vincent L. Briccetti
United States District Judge

 
